Case 2:Ol-cv-02373-.]PI\/|-de Document 2133 Filed 05/18/05 Page 1 of 8 Page|D 3257

FH.EU }§`:'

05 ,t-:.t EXHIBIT B

 

IN THE HNITED square
FOR THE WEsTERN "DISTRICT _OF -.TENNESSEE
wEs*itERN DrvrerN ‘

MEDTRONIC SOFAMOR DANEK, INC.,
Plaintiff,

Civil Action No. 01-2373 MI V

V.

GARY K. MICHELSON, M.D, and KARLIN
TECHNOLOGY, INC..

Defendants. Consolidated with

GARY K. MICHELSON, M.D., and
KARLIN TECHNOLOGY, INC.,

Counterclailnants, Civil Action No. 03-2055 Ml

V.

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MEDTRONIC SOFAMOR DANEK, INC., )
Counterdefenclant. )
GARY K. MICHELSON, M.D., )
Third Party Plaintiff, )
)

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)

)

V.

SOFAMOR DANEK HOLDINGS, INC.,
Third Partv Defendant.

GARY K. MICHELSON, M.D., AND
KARLIN TECHNOLOGY, INC.,
Counterplaintiffs,

v.
MEDTRONIC SOFAMOR DANEK, INC.

and MEDTRONIC, INC.,
Counterdefendants.

STIPULATED DISMISSAL WITH PREJUDICE
The parties having settled their differences and on motion by all parties
and for good cause shown, it is hereby Ordered:

This document entered on the docket sheet |n compliance
with ama 58 andrurze(a) FHCP on 53 l

Exhibit B to AP‘A -- Form of Stipufation OfDism:ssa| with Prejudice.DOC

Case 2:01-cv-O2373-.]PI\/|-de Document 2133 Filed 05/18/05 Page 2 of 8 Page|D 3258

l. This action and the complaints and counterclaims in this action are hereby
dismissed with prejudice This stipulation by the parties is not an acknowledgement of
liability of any party for any claim or allegation asserted in this litigation.

2. Plaintiffs request, and Defendants do not oppose, that the Order to Show
Cause, dated September 30, 2003, and the Report and Recommendation on Defendant's
Motion for Contempt Sanctions for Violation of Preliminary lnjunction Order, dated July
26, 2004, both issued by Magistrate Judge Vescovo be withdrawn It is therefore
ordered that said Show Cause Order (docket no. 827) and Report and Recolnmendation
(docket no. 1777) be and are hereby withdrawn

3. Upon Defendants' request, Defendants Subrnission Re: Attorneys' Fees
Expended and Cost Incurred in Bringing Their Motion for Contempt Sanction, dated
August lO, 2004, is hereby withdrawnl

4. The Amended Protective Order in this action is hereby amended to permit
a document custodian selected by the parties to retain copies of the documents and things
falling within Paragraph 36 of the Amended Protective Order other than (i) any
documents and things that are protected by the attorney - client privilege, the work
product doctrine or other applicable privileges or (ii) materials falling within Paragraph
37 of the Amended Protective Order produced in this action, and to permit Medtronic
Sofamor Danek, Inc. to retain copies of documents and tangible things produced by
defendants in this action.

5. Each party shall bear its own costs.

E,xhibit B to APA -¢ Form of Stipulation of Dismissal with Prejudice.DOC

Case 2:01-cv-O2373-.]PI\/|-de Document 2133 Filed 05/18/05 Page 3 of 8 Page|D 3259

SO ORDERED, this fgs day of w 29 j 2005.
HONO ABLE JON P MCCALLA
D STATES DISTRICT COURT JUDGE

/"/”

AGREED TO:

 
 
  

Dated:

 

_, 2005 By; 1

  
 

TORNEYS OR PLAINTIFF
AND COUNTER-DEFENDANTS

Dated; /2/?_,2005 By: /<§%4/ %€(j/l'\

ATTORNEYS FOR DEFE TS
AND COUNTER- PLAINTI

   

Exhibit B to APA -- Form of Stipulation of Dismissal with Prejudice.DOC

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2133 in
case 2:0]-CV-02373 was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

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Case 2:01-cv-O2373-.]PI\/|-de Document 2133 Filed 05/18/05 Page 5 of 8 Page|D 3261

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Case 2:01-cv-O2373-.]PI\/|-de Document 2133 Filed 05/18/05 Page 6 of 8 Page|D 3262

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Case 2:01-cv-O2373-.]PI\/|-de Document 2133 Filed 05/18/05 Page 7 of 8 Page|D 3263

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Case 2:01-cv-O2373-.]PI\/|-de Document 2133 Filed 05/18/05 Page 8 of 8 Page|D 3264

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US DISTRICT COURT

